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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

STEPHANIE M. RONEY,                     )
                                        )
      Plaintiff,                        )
                                        )
vs.                                     )      Civil Action No. 5:18-cv-1482-CLS
                                        )
CITY OF HUNTSVILLE,                     )
ALABAMA,                                )
                                        )
      Defendant.                        )


                              MEMORANDUM OPINION

      This action is before the court on the motion to dismiss filed by defendant, City

of Huntsville, Alabama.1 Plaintiff, Stephanie M. Roney, asserts claims of sex

discrimination and retaliation under Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e et seq.; disability discrimination under the Americans

with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101 et seq.; and

interference with her rights and retaliation under the Family and Medical Leave Act

of 1993, 29 U.S.C. § 2601 et seq.2 Defendant contends that the complaint filed by

plaintiff is due to be dismissed because it fails to meet the standards of Federal Rules

of Civil Procedure 8 and 10, and fails to state a claim upon which relief can be


      1
          Doc. no. 8.
      2
          Doc. no. 1 (Complaint).
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granted under Rule 12(b)(6).3 In particular, defendant asserts that plaintiff has filed

an impermissible “shotgun” pleading, in violation of Rules 8(a)(2)4 and 10(b).5

        Federal Rule of Civil Procedure 12(b) permits a party to move to dismiss a

complaint for, among other reasons, “failure to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). This rule must be read together with Rule 8(a),

which requires that a pleading contain only a “short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While that

pleading standard does not require “detailed factual allegations,” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 550 (2007), it does demand “more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citations omitted). As the Supreme Court stated in Iqbal:

        A pleading that offers “labels and conclusions” or “a formulaic
        recitation of the elements of a cause of action will not do.” [Twombly,
        550 U.S. at 555]. Nor does a complaint suffice if it tenders “naked

        3
            Doc. no. 8.
        4
         That rule instructs that “[a] pleading that states a claim for relief must contain . . . a short
and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
8(a)(2) (alteration supplied).
        5
            Federal Rule of Civil Procedure 10(b) provides that:

        A party must state its claims or defenses in numbered paragraphs, each limited as far
        as practicable to a single set of circumstances. . . . If doing so would promote clarity,
        each claim founded on a separate transaction or occurrence . . . must be stated in a
        separate count or defense.

Id. (ellipses supplied).

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assertion[s]” devoid of “further factual enhancement.” Id. at 557.

       To survive a motion to dismiss founded upon Federal Rule of
Civil Procedure 12(b)(6), [for failure to state a claim upon which relief
can be granted], a complaint must contain sufficient factual matter,
accepted as true, to “state a claim for relief that is plausible on its face.”
Id., at 570. A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged. Id., at 556. The
plausibility standard is not akin to a “probability requirement,” but it
asks for more than a sheer possibility that a defendant has acted
unlawfully. Ibid. Where a complaint pleads facts that are “merely
consistent with” a defendant’s liability, it “stops short of the line
between possibility and plausibility of ‘entitlement to relief.’” Id., at
557 (brackets omitted).

       Two working principles underlie our decision in Twombly. First,
the tenet that a court must accept as true all of the allegations contained
in a complaint is inapplicable to legal conclusions. Threadbare recitals
of the elements of a cause of action, supported by mere conclusory
statements, do not suffice. Id., at 555 (Although for the purposes of a
motion to dismiss we must take all of the factual allegations in the
complaint as true, we “are not bound to accept as true a legal conclusion
couched as a factual allegation” (internal quotation marks omitted)).
Rule 8 marks a notable and generous departure from the hyper-technical,
code-pleading regime of a prior era, but it does not unlock the doors of
discovery for a plaintiff armed with nothing more than conclusions.
Second, only a complaint that states a plausible claim for relief survives
a motion to dismiss. Id., at 556. Determining whether a complaint
states a plausible claim for relief will, as the Court of Appeals observed,
be a context-specific task that requires the reviewing court to draw on
its judicial experience and common sense. 490 F.3d, at 157-158. But
where the well-pleaded facts do not permit the court to infer more than
the mere possibility of misconduct, the complaint has alleged — but it
has not “show[n]” — “that the pleader is entitled to relief.” Fed. Rule
Civ. Proc. 8(a)(2).



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             In keeping with these principles a court considering a motion to
      dismiss can choose to begin by identifying pleadings that, because they
      are no more than conclusions, are not entitled to the assumption of truth.
      While legal conclusions can provide the framework of a complaint, they
      must be supported by factual allegations. When there are well-pleaded
      factual allegations, a court should assume their veracity and then
      determine whether they plausibly give rise to an entitlement to relief.

Iqbal, 556 U.S. at 678-79 (emphasis supplied, first and third bracketed alterations

supplied, second and fourth bracketed alterations in original).

      So-called “shotgun” pleadings violate either Federal Rule of Civil Procedure

8(a)(2) — which requires “a short and plain statement of the claim showing that the

pleader is entitled to relief” by “fail[ing] to one degree or another . . . to give the

defendants adequate notice of the claims against them and the grounds upon which

each claim rests,” Weiland v. Palm Beach Sheriff’s Department, 792 F.3d 1313, 1323

(11th Cir. 2015) (alterations supplied) — or the requirement of Rule 10(b) that

discrete claims should be pled in separate counts. See Anderson v. District Broad of

Trustees, 77 F.3d 364, 366-67 (11th Cir. 1996). The toleration of such complaints is

said to work a “great disservice to the administration of civil justice.” Johnson

Enterprises of Jacksonville, Inc. v. FPL Group, Inc., 162 F.3d 1290, 1332 (11th Cir.

1998).

      The Eleventh Circuit has repeatedly condemned such pleadings. See, e.g.,

Davis v. Coca-Cola Bottling Co. Consolidated, 516 F.3d 955, 979-80 & n.54 (11th

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Cir. 2008) (collecting numerous cases), abrogated on other grounds by Bell Atlantic

Corp. v. Twombly, 550 U.S. 544 (2007); BMC Industries, Inc. v. Barth Industries,

Inc., 160 F.3d 1322, 1326-27 n.6 (11th Cir. 1998); GJR Investments, Inc. v. County

of Escambia, 132 F.3d 1359, 1368 (11th Cir. 1998); Pelletier v. Zweifel, 921 F.2d

1465, 1518-19 (11th Cir. 1991).

      It is said that such pleadings waste scarce judicial resources, “inexorably

broaden[ ] the scope of discovery,” “wreak havoc on appellate court dockets,” and

“undermine[ ] the public’s respect for the courts.” Davis, 516 F.3d at 981-83

(detailing the “unacceptable consequences of shotgun pleading”) (alterations in

original). See also Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1294-95 (11th Cir.

2018).

      The Eleventh Circuit’s opinion in Weiland, supra, identified four categories of

“shotgun” pleadings.

             Though the groupings cannot be too finely drawn, we have
      identified four rough types or categories of shotgun pleadings. [i] The
      most common type — by a long shot — is a complaint containing
      multiple counts where each count adopts the allegations of all preceding
      counts, causing each successive count to carry all that came before and
      the last count to be a combination of the entire complaint. [ii] The next
      most common type, at least as far as our published opinions on the
      subject reflect, is a complaint that does not commit the mortal sin of
      re-alleging all preceding counts but is guilty of the venial sin of being
      replete with conclusory, vague, and immaterial facts not obviously
      connected to any particular cause of action. [iii] The third type of

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      shotgun pleading is one that commits the sin of not separating into a
      different count each cause of action or claim for relief. [iv] Fourth, and
      finally, there is the relatively rare sin of asserting multiple claims against
      multiple defendants without specifying which of the defendants are
      responsible for which acts or omissions, or which of the defendants the
      claim is brought against.

Weiland, 792 F.3d at 1321-23 (bracketed alterations supplied, footnotes omitted).

      The Eleventh Circuit directs district courts to independently police the parties’

pleadings, and,

      [w]hen a litigant files a shotgun pleading, is represented by counsel, and
      fails to request leave to amend, a district court must sua sponte give him
      one chance to replead before dismissing his case with prejudice on non-
      merits shotgun pleading grounds. In the repleading order, the district
      court should explain how the offending pleading violates the shotgun
      pleading rule so that the party may properly avoid future shotgun
      pleadings.

Vibe Micro, 878 F.3d at 1296 (alteration and emphasis supplied, footnote omitted);

see also Jackson v. Bank of America, N.A., 898 F.3d 1348, 1359 (11th Cir. 2018)

(reiterating that, when a complaint is due to be stricken on the ground that it violates

the prohibition on “shotgun” pleadings, the plaintiff should be given “another

opportunity to file a complaint that passes muster,” but only after the district court

“point[s] out the defects in the complaint”) (alteration supplied) (citing Vibe Micro,

878 F.3d at 1295).

      Here, plaintiff has pled multiple counts, each of which incorporates all of the


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preceding allegations (and counts):6 a practice condemned by the Eleventh Circuit.

See, e.g., Weiland, 792 F.3d at 1322 & n.12.7 That defect, in itself, causes confusion

to the defendant and the court, and is enough to require plaintiff to amend her

complaint. As defendant aptly emphasizes, plaintiff should instead provide “specific,

discrete grounds supporting each of [her] claims.”8

       Also troubling is plaintiff’s inclusion of “conclusory, vague, and immaterial

facts not obviously connected to any particular cause of action.” Id. at 1322. Laying

aside plaintiff’s characterization of the allegations contained in paragraphs 12 through

16 as “Background Information,” there is no factual specificity from which the court

or the defendant can evaluate the events or actions leading to this lawsuit. For
       6
           See doc. no. 1 (Complaint).
       7
          Footnote 12 cites the following opinions: Chudasama v. Mazda Motor Corp., 123 F.3d
1353, 1359 n.9 (11th Cir. 1997) (finding a shotgun pleading where “a reader of the complaint must
speculate as to which factual allegations pertain to which count”); Cramer v. Florida, 117 F.3d 1258,
1261 (11th Cir. 2015) (describing the complaint at issue as “a rambling ‘shotgun’ pleading that is
so disorganized and ambiguous that it is almost impossible to discern precisely what it is that these
appellants are claiming”); Ebrahimi v. City of Huntsville Bd. of Educ., 114 F.3d 162, 164 (11th Cir.
1997) (describing a complaint that “offered vague and conclusory factual allegations in an effort to
support a multiplicity of discrimination claims leveled against 15 defendants” as a “prototypical
‘shotgun complaint’”); Anderson v. District Bd. of Trustees of Central Fla. Comm. College, 77 F.3d
364, 366 (11th Cir. 1996) (complaint was “perfect example of ‘shotgun’ pleading in that it [was]
virtually impossible to know which allegations of fact [were] intended to support which claim(s) for
relief”) (citation omitted, alterations supplied); Tamiami Partners, Ltd. v. Miccosukee Tribe of
Indians of Fla., 63 F.3d 1030, 1046 n.51 (11th Cir. 1995) (characterizing the complaint at issue as
“a quintessential shotgun pleading, replete with vague and cursory allegations”); and Pelletier v.
Zweifel, 921 F.2d 1465, 1518 (11th Cir.1991) (“[Plaintiff’s complaints] are quintessential ‘shotgun’
pleadings, replete with factual allegations that could not possibly be material to any of the causes of
actions they assert.”) (alteration supplied).
       8
        Doc. no. 23 (Reply Brief in Support of Defendant’s Motion to Dismiss), at 4 (emphasis
omitted & alteration supplied).

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example, plaintiff alleges that during her assignment to the Natatorium, which dated

from sometime in 2004 until some later, but unspecified, date, “she was subjected to

a sexually hostile work environment by her supervisor, Mick Roney.”9 This is a

forbidden conclusory allegation, shedding no light on her claims in any way.

Likewise, she alleges that she “was also subjected to a racially hostile work

environment by Mick Roney and a co-worker, Pat McCool. . . . McCool also wrote

racially and sexually offensive statements on the white board at the Natatorium.”10

Again, these are conclusory statements that are without value in determining the basis

of plaintiff’s claims, even as “background information.” The remaining paragraphs

in that section of the complaint also suffer from vagueness and a lack of connection

to the causes of action asserted by plaintiff: she does not identify the Human

Resources employee to whom she allegedly reported Roney and McCool’s offensive

conduct, or the date on which she did so;11 she does not provide the date or dates on

which she was disciplined by Roney and McCool;12 and her allegation that “McCool

further retaliated by swearing out a warrant for Plaintiff’s arrest, which resulted in



       9
        Doc. no. 1 (Complaint), at ¶ 13. Nor does she state whether she is related to Mick Roney,
with whom she shares a surname.
       10
            Id. at ¶ 14.
       11
            Id. at ¶ 15
       12
            Id. at ¶ 16.

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Plaintiff’s arrest,” is entirely mysterious.13

       The factual allegations described as “Subsequent Events Forming the Basis of

Plaintiff’s Current Claims” similarly suffer from vagueness. As an example, the

complaint alleges that “[t]he City of Huntsville applied and/or failed to properly

follow its policies and procedures in regard to Plaintiff’s employment compared to

non-disabled, male employees or employees who had not complained of

discrimination or used Family and Medical Leave, in similar positions.”14 Likewise,

plaintiff’s allegation that “[t]he City of Huntsville failed to provide Plaintiff with

reasonable accommodations for her disability and/or retaliated against her because

of her disability” is conclusory and vague. Further, it is unclear from the complaint

whether plaintiff’s employment was terminated or whether she remains employed by

defendant.15

       For all of the foregoing reasons, this court concludes that plaintiff’s complaint

is an impermissible “shotgun” pleading, and that the motion to dismiss filed by the

City of Huntsville is due to be granted. In light of Eleventh Circuit precedent,

however, plaintiff will be afforded one opportunity to cure the defects discussed in

       13
            Id.
       14
            Doc. no. 1 (Complaint) ¶ 32.
       15
          Compare id. ¶ 24 (plaintiff’s termination “was reversed”) with ¶¶ 42 -43 (claiming plaintiff
lost wages and is entitled to back pay) and ¶ 61 (“[p]laintiff was willfully terminated after taking
leave for medical treatment”).

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this opinion by way of filing an amended complaint. See, e.g., Vibe Micro, 878 F.3d

at 1296.

      A separate order, in accordance with the discussion contained in this

memorandum of opinion, will be entered contemporaneously herewith.

      DONE this 4th day of December, 2018.



                                             ______________________________
                                             United States District Judge




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